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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________
                                     )                     Civil Nos.
                                     )
IN RE: SEPTEMBER 11 LITIGATION       )                     21 MC 97 (AKH)
                                     )
                                     )                     NOTICE OF MOTION
____________________________________)

        PLEASE TAKE NOTICE that, upon the accompanying memorandum of law and the

Declaration of Robert T. Haefele, Esq., the plaintiffs in 21 MC 97 will move this Court at the

earliest time permitted, at the United States Courthouse, 500 Pearl Street, New York, New York,

for an order setting aside the defendants’ designations of confidentiality that the Aviation

Defendants made purportedly pursuant to the Confidentiality Protective Order this Court entered

on March 30, 2004, and making public all of the documents the Aviation Defendants produced in

the above-referenced matter (where applicable, as redacted by the intervenors, the United States

Government).

Dated: October 29, 2007
New York, New York
                                          Respectfully submitted,

                                          MOTLEY RICE LLC

                                          By:     __/s/ Michael E. Elsner__________
                                                  Ronald L. Motley, Esquire
                                                  Joseph F. Rice, Esquire
                                                  Donald Migliori, Esquire
                                                  Jodi Westbrook Flowers, Esquire
                                                  Mary Schiavo, Esquire
                                                  Michael E. Elsner, Esquire (ME-8337)
                                                  Robert T. Haefele, Esquire
                                                  Elizabeth Smith, Esquire
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                                                  Liaison Counsel for PI/WD Plaintiffs
